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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

In Re:      Oil Spill by the Oil Rig           ]                      MDL No. 2179
            “Deepwater Horizon” in the         ]
            Gulf of Mexico, on April 20, 2010  ]                      SECTION: J
                                               ]
                                               ]                      Judge Barbier
This Document Relates to: 2:12-cv-1045-CJB-JCW ]                      Mag. Judge Wilkinson
                                               ]

                                    ORDER AND REASONS

         Before the Court is Plaintiff’s Memorandum in Support for Conditional Certification

and Court-Authorized Notice pursuant to Section 216(b) of the FLSA. The putative collective

claims are based on alleged non-payment of overtime by the defendants. Having considered the

legal memorandum, the record, and the law, the Court finds that Plaintiff’s Motion is

GRANTED.

         IT IS ORDERED that Plaintiff’s Motion for Conditional Certification and Court-

Authorized Notice pursuant to Section 216(b) of the FLSA is hereby CONDITIONALLY

GRANTED.

         IT IS FURTHER ORDERED that the Court will adopt Plaintiff’s proposed class

definitions for purposes of this preliminary certification. It is defined as: all Oil Spill Workers

who (a) worked for O’Brien’s Response Management, Inc. at any site on the Horizon Spill

response between April 21, 2010 and January 1, 2011; (b) were classified as independent

contractors; (c) paid a day-rate; (d) worked over forty hours in at least one workweek without

receiving overtime pay; and (e) performed duties tracking oil spill response personnel and/or

equipment, and/or otherwise assisted in managing and/or tracking the resources used in the

response.




                                                                                               Ex. 2
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       IT IS FURTHER ORDERED Defendant shall produce to Plaintiff a computer-readable

data file containing all Potential Opt-In Plaintiff’s names, last-known mailing addresses, email

addresses, last-known telephone numbers, work locations, and dates of employment within ten

(10) days from date of Order.

       IT IS FURTHER ORDERED that the Court authorizes the issuance of Plaintiff’s

proposed Notice and Notice of Consent form (attached as Exhibit 3 to Plaintiff’s Motion) to all

Potential Opt-In Plaintiffs. Plaintiff’s Counsel shall have ten days from the date of receipt of

Defendant’s aforementioned computer-readable data file to mail the court approved Notice and

Notice of Consent form to join for Potential Opt-In Plaintiffs. Further, the Court authorizes a

notice period allowing Potential Opt-In Plaintiffs 60 days from the date Notice is sent out to

submit their Consents to join with Plaintiff’s Counsel. Plaintiff shall file with the Court Opt-In

Plaintiff’s Notice of Consent forms no later than ten (10) days after the expiration of the 60-day

notice period.


       New Orleans, Louisiana, this ____ day of ________, 2012.




                                              CARL J. BARBIER
                                              UNITED STATES DISTRICT JUDGE




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